               Case 23-11069-CTG             Doc 1583        Filed 01/03/24        Page 1 of 5




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                                    Chapter 11

YELLOW CORPORATION, et al.,                               Case No. 23-11069 (CTG)
                                                          (Jointly Administered)
                 Debtors. 1
                                                          RE: D.I. 1329


     JOINDER AND OBJECTION OF BRETT GROVES TO DEBTORS’ MOTION TO
       ESTABLISH ALTERNATIVE DISPUTE RESOLUTION PROCEDURES FOR
    RESOLUTION OF CERTAIN LITIGATION CLAIMS AND FOR RELATED RELIEF

         Brett Groves (“Movant”), by and through his undersigned counsel, hereby submits his

objection (the “Objection”) to the to the Motion of Debtors to Establish Alternative Dispute

Resolution Procedures for Resolution of Certain Litigation Claims and for Related Relief Filed by

Yellow Corporation. [D.I. 1329] (the “Motion to Establish ADR”) and joins in similarly filed

objections and in support of this Objection, the Movant respectfully states as follows:

         1.      On November 18, 2021, Movant, while employed by Doors22 was horrifically

injured while at the premises of Doors22. He sustained catastrophic injuries while in the course

and scope of his employment while he was assisting in the loading of heavy glass doors (the

“Doors”) into a truck. Specifically, prior to his injury Movant was physically able to support his

wife and family and now is a 45 year old quadriplegic father who requires the use of a motorized

wheelchair and full time nursing assistance. Debtor Yellow Logistics, Inc. d/b/a YRC Freight

(“Debtor”) had contracted with Capo Logic for the transportation of the Doors, which were loaded




1
 A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
proposed claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’ principal
place of business and the Debtors’ service address in these chapter 11 cases is: 10990 Roe Avenue, Overland Park,
Kansas 66211.
             Case 23-11069-CTG           Doc 1583      Filed 01/03/24     Page 2 of 5




in a dangerous manner and not secured to properly ensure that the Doors did not shift or fall on

workers loading the Doors inside the truck.

       2.      On March 14, 2023 Movant filed his First Amended Complaint in the Circuit Court

of the 11th Judicial Circuit, in and for Miami-Dade County, Florida styled Brett Groves vs. Bobby

Benson Kimuhu, Christopher Davidson Michael, Dakota Financial, LLC, Capo Logic LLC, Yellow

Logistics, Inc. d/b/a YRC Freight and the Glass Door Company, Inc. d/b/a Doors22, Case No.

2023-000463-CA-01.

       3.      On or about August 24, 2023, Movant filed a Motion for Relief from Stay.

       4.      On or about October 12, 2023, the Debtors filed their objection to the Motion for

Relief from Stay, asserting, among other things, that Old Republic Insurance Company (“ORIC”)

was denying insurance coverage. ORIC also filed an objection to Motion for Relief from Stay

suggesting that there was not insurance coverage. The purported denial by ORIC that there is

insurance coverage is troubling in light of the facts that: (1) in a bankruptcy proceeding, a debtor

is typically required to carry appropriate insurance and the failure to do so will often result in the

case converting to a Chapter 7; (2) the Debtors were statutorily required to carry insurance for a

minimum amount of $750,000.00 to operate motor vehicles; (3) a certificate was filed with the

U.S. Department of Transportation representing that ORIC was providing insurance coverage in

connection with the operation of motor vehicles; (4) the Debtors have reported that ORIC drew

down on approximately $231 million in letters of credit; and (5) it appears that the ORIC was

providing what is characterized as fronting policy for any claim in excess of $750,000.00 and

ORIC, in its own publication, appears to concede that it is ORIC that bears the risk of an insured’s

insolvency. See article issued by ORIC entitled “Fronted Policies – When It Makes Sense”

attached hereto as Exhibit A.



                                                  2
              Case 23-11069-CTG          Doc 1583      Filed 01/03/24      Page 3 of 5




       5.       The Debtors and ORIC filed a MCS-90 endorsement with the U.S. Department of

Transportation representing that ORIC was providing $750,000.00 in coverage. Accordingly,

there is no coverage question for the minimum required limits of $750,000. This is primary

insurance coverage that is required to be in place under the Motor Carrier Act of 1990. As to any

claim that would exceed $750,000.00, that aspect of the claim should also be covered by insurance

under a fronting policy. Fronting is the use of a licensed, admitted insurer to issue an insurance

policy on behalf of a self-insured organization or captive insurer without the intention of

transferring any risk. The risk of loss is retained by the self-insured or captive insurer through an

indemnity or reinsurance agreement. However, the fronting company (insurer) would be required

to honor the obligations imposed by the policy if the self-insurer or captive failed to indemnify it.

Therefore, the fronting company is subject to credit risk as a result of the arrangement, and fronting

companies charge a fee for this service. Fronting arrangements allow captives to comply with

financial responsibility laws imposed by many states that require evidence of coverage written by

an admitted insurer, such as for auto liability and workers compensation insurance. Fronting

arrangements may also be used when business contracts with other organizations, such as leases

and service contracts, require evidence of coverage through an admitted insurer. The insured may

face a contractual requirement that stipulates the use of insurers that meet a minimum financial

rating to issue the insurance policy for a particular risk. By utilizing a fronting insurer, the

certificates of insurance, as well as the policies, would be issued utilizing the name/paper of the

fronting company, thereby meeting the contract's requirements. Since it faces a credit risk from

the arrangement, the fronting company will also require that the captive secure its obligation by

using some type of collateral, which in this case appear to be letters of credit totaling approximately

$231 million.



                                                  3
             Case 23-11069-CTG          Doc 1583      Filed 01/03/24     Page 4 of 5




       6.      Movant, at the request of the Debtors, had agreed to continue his Motion for Relief

from Stay to allow the Debtors to negotiate with ORIC and to file proposed ADR procedures to

address claims such as those asserted by Movant on a global basis.

       7.      On or about December 11, 2023, Debtors filed the Motion to Establish ADR. See

D.I. 1329. The objection deadline was set for December 26, 2023, and the Debtors agreed to

extend the objection for Movant to January 4, 2024.

       8.       Movant objects to the Motion to Establish ADR because there are provisions in

that Motion that are grossly unfair and one sided. Some of the specific provisions that are

objectionable is the one-sided default provision if there is a failure to timely respond to a request

from the Debtors or ORIC. While Movant has no objection to participating in ADR and indeed

welcomes the opportunity to do so, only claimants are subject to a default sanction. Also, in the

Motion to Establish ADR, it appears that ORIC maintains the right to deny coverage. Movant

should not be compelled to participate in ADR until there is some clarity regarding ORIC’s

apparent continued denial of insurance coverage and the Debtors’ apparent acquiescence in this

even after ORIC drew down on an approximately $321 million letter(s) of credit. The Debtors

also appear to be seeking a waiver of claims against the estate. If Movant participates in ADR in

good faith, Movant should not be required to waive claims or release claims against the Debtors

to obtain relief from stay and pursue her claim especially when ORIC appears to deny coverage

notwithstanding drawing down on $231 million in collateral.




                                                 4
             Case 23-11069-CTG        Doc 1583      Filed 01/03/24     Page 5 of 5




  JOINDER IN THE ARGUMENTS OF OTHER CLAIMANTS OBJECTING TO THE
                     MOTION TO ESTABLISH ADR

       9.     Movant joins in the arguments raised by other similarly situated claimants that have

objected to the Motion to Establish ADR and incorporate by reference those arguments herein.

       WHEREFORE, Movant respectfully requests that the Court deny the Debtors’ Motion to

Establish ADR until the ADR procedures are modified to adequately address the concerns of

Movant and other claimants and that Movant be awarded such further additional relief as may be

just and proper under the circumstances.

 Dated: January 3, 2024                    GELLERT SCALI BUSENKELL & BROWN, LLC

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